                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 BRANDON MILLS,                                      )
                                                     )
               Petitioner,                           )
                                                     )
 v.                                                  )       Nos.    1:06-CR-57-HSM-CHS-2
                                                     )               1:16-CV-219-HSM
 UNITED STATES OF AMERICA,                           )
                                                     )
               Respondent.                           )


                                  MEMORANDUM OPINION

        Before the Court is Petitioner’s pro se motion to vacate, set aside, or correct her sentence

 pursuant to 28 U.S.C. § 2255 [Docs. 173, 178].      He bases the request for relief on Johnson v.

 United States, 135 S. Ct. 2551 (2015), in which the Supreme Court held that the residual clause

 of the Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e), was unconstitutionally vague

 [Id.]. The United States responded in opposition on August 4, 2016 [Doc. 184]. Petitioner did

 not reply and the time for doing so has now passed. E.D. Tenn. L.R. 7.1, 7.2. For the reasons

 that follow, Petitioner’s § 2255 motion will be DENIED and DISMISSED WITH

 PREJUDICE.

 I.     BACKGROUND

        In 2007, Petitioner pled guilty to, and was subsequently convicted of, aiding and abetting

 the commission of four Hobbs Act robberies, in violation of 18 U.S.C. § 1951 and 2, and two

 counts of aiding and abetting the brandishing of a firearm during and in relation to a crime of

 violence, in violation of 18 U.S.C. §§ 924(c)(1)(A)(ii) and 2 [Docs. 56, 78]. The United States

 Probation Office assigned Petitioner an advisory Guideline range of 441 to 455 months’

 imprisonment [Presentence Investigation Report (PSR) ¶¶ 82–83 (noting that Petitioner’s §




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 924(c) offenses resulted in statutorily mandated minimums of 384 months’ imprisonment)]. The

 Court granted a motion for downward departure filed by the United States and sentenced

 petitioner to 321 months’ incarceration on April 9, 2007 [Doc. 78]. Petitioner did not file a

 direct appeal.

        Four years later—in January of 2012, Petitioner field a motion seeking to withdraw his

 guilty plea [Doc. 161]. Noting that the proper avenue for making such a request would be to file

 a motion under § 2255, this Court sent Petitioner a blank petition [Doc. 162]. On June 16, 2016,

 Petitioner filed the instant § 2255 motion [Docs. 173, 178]. The petition contains two theories

 for collateral relief: (1) several underdeveloped allegations of ineffective assistance suggesting

 counsel failed to “do what [Petitioner] instructed,” seek a lesser sentence because this was

 Petitioner’s “first felony,” or “represent [Petitioner’s] case right;” and (2) a challenge to

 Petitioner’s § 924(c) convictions based on the Johnson decision [Id. at 4–10].

 II.    TIMELINESS OF PETITION

        Section 2255(f) places a one-year statute of limitations on all petitions for collateral relief

 under § 2255 running from either: (1) the date on which the judgment of conviction becomes

 final; (2) the date on which the impediment to making a motion created by governmental action

 in violation of the Constitution or laws of the United States is removed, if the movant was

 prevented from making a motion by such governmental action; (3) the date on which the right

 asserted was initially recognized by the Supreme Court, if that right has been newly recognized

 by the Supreme Court and made retroactively applicable to cases on collateral review; or (4) the

 date on which the facts supporting the claim or claims presented could have been discovered

 through the exercise of due diligence. 28 U.S.C. § 2255(f). Petitioner has failed to demonstrate

 that subsections (f)(2) or (f)(4) apply to her case. i.e., she has not established that any illegal

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 action by the government prevented her from making the timely petition or the existence of facts

 affecting her case that could not have previously been discovered through the exercise of due

 diligence. As such, timeliness of the petition depends on whether its submission complied with

 subsections (f)(1) and (f)(3).

        A.      Timeliness of Supplemented Petition Under Subsections (f)(1) and (f)(3)

        For purposes of the subsection (f)(1)—where the statutory period expires one year from

 the date on which the judgment of conviction becomes final—a “conviction becomes final at the

 conclusion of direct review.” Brown v. United States, 20 F. App’x 373, 374 (6th Cir. 2001)

 (quoting Johnson v. United States, 246 F.3d 655, 657 (6th Cir. 2001)).            Using the same

 reasoning, the Sixth Circuit has made clear that “when a federal criminal defendant does not

 appeal to the court of appeals, [direct review concludes] upon expiration of the period in which

 the defendant could have appealed to [such court], even when no notice of appeal was filed.”

 Johnson v. United States, 457 F. App’x 462, 465 (6th Cir. 2012) (quoting Sanchez-Castellano v.

 United States, 358 F.3d 424, 427 (6th Cir. 2004)). Petitioner’s conviction became final on April

 23, 2007, fourteen days after the Court entered judgment on April 9, 2007. See Fed. R. App.

 Proc. 4(b)(1)(A)(i) (“In a criminal case, a defendant’s notice of appeal must be filed in the

 district court within [fourteen] days after . . . the entry of . . . judgment.”). The window for

 requesting relief under that subsection expired on April 23, 2008, slightly less than eight years

 before Petitioner submitted the petition.

        To the extent Petitioner attempts to rely on subsection (f)(3)’s independent one-year

 filing period for newly-recognized rights made retroactively applicable on collateral review as

 justification for submitting the petition after April 23, 2008, only the claim for collateral relief

 based on the Johnson decision even arguably satisfies the conditions required to trigger that

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 provision.   See 28 U.S.C. § 2255(f)(3) (requiring reliance on a newly recognized and

 retroactively applicable right); see also Welch v. United States, 136 S. Ct. 1257, 1265 (2016)

 (“Johnson is . . . a substantive decision and so has retroactive effect . . . in cases on collateral

 review.”); In re Windy Watkins, 810 F.3d 375, 380–81 (6th Cir. 2015) (finding Johnson

 constitutes a new substantive rule of constitutional law made retroactively applicable on

 collateral review and thus triggers § 2255(h)(2)’s requirement for certification of a second or

 successive petition). By contrast, Petitioner’s theories of ineffective assistance of counsel do not

 assert a newly recognized right and thus cannot rely on the one-year filing window under

 subsection (f)(3). As a result, timeliness of the ineffective assistance claims depend on whether

 or not subsection (f)(1) was tolled.

        B.      Equitable Tolling of Subsection (f)(1)

        Section 2255(f)’s statute of limitations is not jurisdictional and may be tolled under

 limited, extraordinary circumstances. Dunlap v. United States, 250 F.3d 101, 1007 (6lth Cir.

 2001). Used sparingly, a petitioner bears the burden of establishing that equitable tolling applies

 to her case, see Jurado v. Burt, 337 F.3d 638, 642 (6th Cir. 2003); Allen v. Yukins, 366 F.3d 396,

 401 (6th Cir. 2004), and must show “(1) that [s]he has been pursuing [her] rights diligently, and

 (2) that some extraordinary circumstance stood in [her] way and prevented timely filing,”

 Holland v. Florida, 130 S. Ct. 2549, 2562 (2010); Hail v. Warden, 662 F.3d 745, 750 (6th Cir.

 2011); see also Jurado, 337 F.3d at 643 (“Absent compelling equitable considerations, a court

 should not extend limitations by even a single day.”).

        Review of the petition and CM/ECF record fail to reveal a single extraordinary

 circumstance justifying Petitioner’s failure submit the ineffective assistance of counsel claims

 within the one-year window permitted by subsection (f)(1). Compare Stovall v. United States,

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 No. 1:12-cv-377, 2013 WL 392467, at *3 (E.D.T.N. Jan. 31, 2013) (rejecting request for

 equitable tolling of subsection (f)(1) in absence of evidence illustrating a diligent pursuit of the

 rights asserted); with Jones v. United States, 689 F.3d 621, 627 (6th Cir. 2012) (granting request

 for equitable tolling where the petitioner pled facts indicating he had been separated from his

 legal materials for an extended period of time due to multiple detention transfers and an illness).

 Because the theories of ineffective assistance are untimely, they will be denied without review.

 III.   STANDARD OF REVIEW

        To obtain relief under 28 U.S.C. § 2255, Petitioner must demonstrate “(1) an error of

 constitutional magnitude; (2) a sentence imposed outside the statutory limits; or (3) an error of

 fact or law . . . so fundamental as to render the entire proceeding invalid.” Short v. United States,

 471 F.3d 686, 691 (6th Cir. 2006) (quoting Mallett v. United States, 334 F.3d 491, 496–97 (6th

 Cir. 2003)). She “must clear a significantly higher hurdle than would exist on direct appeal” and

 establish a “fundamental defect in the proceedings which necessarily results in a complete

 miscarriage of justice or an egregious error violative of due process.” Fair v. United States, 157

 F.3d 427, 430 (6th Cir. 1998).

 IV.    ANALYSIS REMAINING GROUND FOR JOHNSON-BASED RELIEF

        The petition contains a single timely ground for collateral relief, arguing that the Johnson

 decision invalidated the residual clause in § 924(c)(3)(B)’s definition of crime of violence and

 that the absence of that provision requires vacatur of his convictions under § 924(c)(1)(A).

        That argument fails because binding Sixth Circuit precedent holds that while Johnson

 invalidated the residual provision of the ACCA, § 924(c)(3)(B)’s definition of crime of violence




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 remains unaffected.1     See; United States v. Taylor, 814 F.3d 340, 376–79 (6th Cir. 2016)

 (recognizing at least four “significant differences” between the residual clause in § 924(c)(3)(B)

 and the ACCA’s residual clause and noting “the argument that Johnson effectively invalidated

 [the former] is . . . without merit”). As a result, Hobbs Act robbery remains a crime of violence

 capable of supporting the conviction under § 924(c)(1)(A).

 V.     CONCLUSION

        For the reasons discussed above, Petitioner’s supplemented § 2255 motion [Docs. 173,

 178] will be DENIED and DISMISSED WITH PREJUDICE. The Court will CERTIFY any

 appeal from this action would not be taken in good faith and would be totally frivolous.

 Therefore, this Court will DENY Petitioner leave to proceed in forma pauperis on appeal. See

 Rule 24 of the Federal Rules of Appellate Procedure. Petitioner having failed to make a




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        The ACCA mandates a 15-year sentence for any felon who unlawfully possesses a
 firearm after having sustained three prior convictions “for a violent felony or a serious drug
 offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1).
 The statute defines “violent felony” as “any crime punishable by imprisonment for a term
 exceeding one year” that (1) “has as an element the use, attempted use, or threatened use of
 physical force against the person of another” (the “use-of-physical-force clause”); (2) “is
 burglary, arson, or extortion, involves the use of explosives” (the “enumerated-offense clause”);
 or (3) “otherwise involves conduct that presents a serious potential risk of physical injury to
 another” (the “residual clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual
 clause—that the Supreme Court deemed unconstitutional in the Johnson decision. 135 S. Ct. at
 2563.

 Section 924(c)(1)(A) makes it a crime for an individual, “in relation to any crime of violence or
 drug trafficking crime . . . for which the person may be prosecuted in a court of the United
 States, [to] use[,] carr[y] [or possess] a firearm . . . in furtherance of . . . such crime.” 18 U.S.C.
 § 924(c)(1)(A). Section 924(c)(3) goes on to define “crime of violence” as any “felony” that
 “has as an element the use, attempted use, or threatened use of physical force against the person
 or property of another” (use-of-physical-force clause); or “by its nature, involves a substantial
 risk that physical force against the person or property of another may be used in the course of
 committing the offense” (“residual clause”).
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 substantial showing of the denial of a constitutional right, a certificate of appealability SHALL

 NOT ISSUE. 28 U.S.C. § 2253; Rule 22(b) of the Federal Rules of Appellate Procedure.

        AN APPROPRIATE JUDGMENT ORDER WILL ENTER.



                                                          /s/ Harry S. Mattice, Jr._______
                                                          HARRY S. MATTICE, JR.




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